                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In re: Kentucky Grilled Chicken Coupon        )
Marketing & Sales Practices Litigation,       )
                                              )       No. 09 C 7670
                                              )       MDL 2103
THIS DOCUMENT RELATES TO                      )
ALL CLASS ACTIONS                             )

                   FINAL APPROVAL OF CLASS ACTION SETTLEMENT

JAMES F. HOLDERMAN, Chief Judge:

       On February 4, 2010, plaintiffs Christine Doering, James Asanuma, Veronica Mora, Kay

Ready, and Daleen Brown (collectively “Plaintiffs”), on behalf of themselves and a purported

nationwide class of over five million individuals, filed a “Master Consolidated Class Action

Complaint” in this multidistrict class action lawsuit against defendants KFC Corporation

(“KFC”) and Yum! Brands, Inc. (“Yum!”) (together “Defendants”). (Dkt. No. 18 (“Master

Complaint”).) In short, Plaintiffs allege that Defendants failed to honor a coupon offer for a free

“Kentucky Grilled Chicken” (“KGC”) meal in early May 2009. Plaintiffs’ allegations regarding

Defendants’ May 2009 free product giveaway include claims for breach of contract (Count I),

common law fraud (Count VI), and violations of the consumer protection statutes of Illinois,

Michigan, and California (Counts II-V & VII).

       On August 16, 2011, this court preliminarily approved the proposed settlement set forth

in the parties’ “Stipulation of Class Action Settlement, as Amended” (Dkt. No. 108-1

(“Settlement Agreement”)), as well as the parties’ plan for giving notice to potential class

members. (Dkt. No. 102.) On October 25, 2011, class member Jill K. Cannata (“Cannata”)

timely filed her objections to the proposed settlement. (Dkt. No. 104 (“Cannata Objs.”).)

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Plaintiffs thereafter filed a “Motion & Memorandum in Support of Final Approval of Class

Action Settlement, and Approval of Attorneys’ Fees and Incentive Award,” (Dkt. No. 108 (“Pl.’s

Mot.”)), in which Plaintiffs specifically addressed Cannata’s objections. Plaintiffs also noted

that they had received no other objections to the proposed settlement and only two requests for

exclusion from the settlement class. (Id. at 2.)

       On November 30, 2011, the court held a fairness hearing to assess the propriety of the

proposed settlement under Federal Rule of Civil Procedure 23(e)(2). [No objectors appeared at

the November 30, 2011 fairness hearing.] Counsel for Plaintiffs and Defendants were given the

opportunity to address the court regarding the fairness, reasonableness, and adequacy of the

proposed settlement, and to respond orally to Cannata’s objections—including Cannata’s

“Supplemental Objections,” (Dkt. No. 110 (“Supp. Objs.”)), which were filed on November 27,

2011. Having considered in detail the provisions of the proposed settlement, the written

objections thereto, and the arguments of counsel in support thereof, the court found on

November 30, 2011, that the proposed settlement represents a fair, reasonable, and adequate

resolution of the claims set forth in Plaintiffs’ Master Consolidated Class Action Complaint.

This written opinion and order supports and explains the court’s November 30, 2011 holding.

I.     General Settlement Terms

       The Settlement Class in this case, approved by separate court order issued simultaneously

with this court order, consists of:

       All persons who:

       (a)     downloaded an Original or PDF Coupon between May 5, 2009 at 9 a.m. central
               time and May 6, 2009 at 11:59 p.m. central time from Oprah.com or
               unthinkfc.com, and


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       (b)       did not receive

                 (i)     the KGC Free Meal pursuant to the Original Coupon, the
                         PDF Coupon, or the Raincheck Coupon,

                 (ii)    a “Chicken Check” or other compensation from KFC in
                         response to a complaint concerning the Oprah Promotion,
                         or

                 (iii)   a free meal or other consideration at a restaurant
                         unaffiliated with Defendants that agreed to accept the KGC
                         Coupons.

(See “Final Approval of Class Certification” Order at 1-2.)1

           Pursuant to the terms of the Settlement Agreement, each Settlement Class member who

was denied the opportunity to redeem an Original Coupon and who submits a valid claim by

January 30, 2012, will receive the full face value ($3.99) of the unredeemed Original Coupon,

with a limit of up to four coupons per household ($15.96). Settlement Class members who

possess generic PDF coupons are eligible to receive $2.00 per PDF Coupon, and Settlement

Class members who no longer possess the coupons they downloaded are eligible to receive $1.00

per coupon. In exchange, Settlement Class members agree to release Defendants and their

affiliates from all known and unknown claims related to the KGC product giveaway.

       The court has received no objections to these general settlement terms, and the court

finds these terms to represent a fair, reasonable, and adequate resolution of Plaintiffs’ claims,

made at arm’s length between the parties, and taking into account the benefits of continued

litigation to Plaintiffs as compared with the benefits offered by the Settlement Agreement.

Continued litigation of the claims at issue in Plaintiffs’ Master Complaint and of Defendants’



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           All capitalized terms given the same meaning as set forth in the Settlement Agreement.

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affirmative defenses— including the potentially re-opened issue of class certification, additional

discovery between the parties, summary judgment briefing, trial, and likely appeal—is certain to

be expensive, time consuming, complex, and risky for both parties. Defendants’ offer of face

value damages in exchange for any unredeemed Original Coupons represents a substantial

recovery by Plaintiffs on behalf of the Settlement Class. Moreover, in light of the legal and

factual uncertainties faced by Plaintiffs and the Settlement Class, the limitation of four coupons

per household and the reduced recovery for class members who possess no physical coupons (or

only PDF Coupons) is both reasonable and fair.

II.    Notice Provisions

       On August 16, 2011, the court approved the parties’ plan for notifying all potential class

members of the proposed class action settlement and of the November 30, 2011 fairness hearing.

In accordance with the approved notice plan, the parties—through professional settlement

administrator Rust Consulting, Inc.—published a summary notice of the proposed Settlement

Agreement, (Dkt. No. 99-1, Ex. A (“Summary Notice”)), in a 2/5 page advertisement in Parade

magazine on September 11, 2011, which was then inserted in the Sunday edition of nearly 600

daily newspapers nationwide. (See Dkt. No. 108-12 (“Declaration of Kim Schmidt”) ¶ 6.) The

parties also engaged in an Internet advertising campaign from September 1, 2011 through

September 30, 2011, through use of the 24/7 Real Media Network, resulting in approximately

18,000,765 “impressions” of the banner ads developed by Rust Consulting, Inc. to inform

potential class members of the proposed Settlement Agreement. (Id. ¶ 5.) Additionally, from

September 27, 2011 through October 26, 2011, the parties engaged in a “keyword campaign,” in

which certain searches performed through Google Advertising Partners and Bing Search


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Marketing resulted in 3,221 “impressions” of text ads linking to the Settlement Website. (Id. ¶

7.) The Settlement Website (www.couponmarketinglitigation.com) has made available to

viewers the following information: (1) the Summary Notice approved by the court (in both

English and Spanish); (2) the Detailed Notice approved by the court (Dkt. No. 99-1, Ex. B); (3)

the Claim Form approved by the court (Dkt. No. 99-1, Ex. D); (4) the Settlement Agreement;

and (5) the Preliminary Approval Order. (Id. ¶ 8.)

        The court has received no objections to the notice provisions of the Settlement

Agreement, and the court finds that the notice provisions comport with due process and

governing law, insofar as the parties have provided “the best notice that is practicable under the

circumstances.” Fed. R. Civ. P. 23(c)(2)(B); see Mirfasihi v. Fleet Mortg. Corp., 356 F.3d 781,

786 (7th Cir. 2004) (“When individual notice is infeasible, notice by publication in a newspaper

of national circulation . . . is an acceptable substitute.”).

III.    Additional Payment Provisions

        In addition to the claims submitted by Settlement Class members, Defendants have also

agreed to pay additional costs of settlement. Specifically,

        Defendants agree to pay up to $1.575 million ($1,575,000) (the “Available
        Amount”) for (i) Valid Claims . . . submitted by Settlement Class members
        pursuant to Paragraph 5 of [the Settlement Agreement], (ii) notice to the
        Settlement Class, (iii) administrative costs of the settlement, (iv) Class Counsel’s
        attorneys’ fees and costs; and (v) incentive awards to Plaintiffs.

(Settlement Agreement ¶ 4.) In no event will payments made by Defendants exceed $1.575

million. (Id.) Accordingly, if the Available Amount minus payments for attorneys’ fees,

incentive awards, and the costs of notice and administration is less than the total amount of Valid

Claims submitted, the amount paid to each Settlement Class member will be reduced by a pro


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rata amount. (Id.; see also ¶ 5(f).) If the total amount of claims, attorneys’ fees, incentive

awards, and the costs of notice and administration is less than the Available Amount, KFC will

make a cash donation equal to the remaining Available Funds as follows: Feeding America

(50%); the Illinois Bar Foundation (25%); and the Chicago Bar Association (25%). (Id. ¶ 5(g).)

         Cannata has objected to the amount of attorneys’ fees requested, as well as the cy pres

distribution outlined in the Settlement Agreement. The court addresses each of these objections

below.

         A.     Attorneys’ Fees

         Cannata first objects that she has been unable to assess the reasonableness of the

requested attorneys’ fees, because no billing sheets have been provided to the Settlement Class

for its review. (Cannat Objs. 6-7.) Cannata seeks an opportunity to review the requested

attorneys’ fees in conjunction with detailed billing sheets submitted by Class Counsel before the

court approves any requested attorneys’ fees. (Id. at 7.) The court rejects Cannata’s request.

Class Counsel undertook to represent Plaintiffs on a contingency fee basis in this litigation.

(Pls.’ Mot 19; see also Dkt. No. 108-2 (“Declaration of Michael J. McMorrow”) ¶ 14.) Detailed

billing records are therefore not required to assess the reasonableness of Plaintiffs’ requested

attorneys’ fees.2 Rather, “[t]he approach favored in the Seventh Circuit is to compute attorney’s


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          Although not required, Plaintiffs have argued in the alternative that their request for
attorneys’ fees is reasonable under the lodestar method and have submitted evidence
demonstrating that the work performed by Class Counsel and the Plaintiffs’ Steering Committee
would have been billed at $554,348.50 based on the hourly rates for the attorneys and legal staff
involved. (See Pls.’ Mot. 22-25.) The court need not address this alternative argument, having
accepted Plaintiffs’ position that the “common benefit approach” to attorneys’ fees is
appropriately applied in this class action litigation. See Cook v. Niedert, 142 F.3d 1004, 1013
(7th Cir. 1998) (“the district judge has discretion to choose between the lodestar and percentage-
of-fund approaches”).

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fees as a percentage of the benefit conferred upon the class.” Williams v. Gen. Elec. Capital

Auto Lease, No. 94 C 7410, 1995 WL 765266, at *9 (N.D. Ill. Dec. 26, 1995) (Lefkow, J.)

(citations omitted). Cannata also concedes in her supplemental objections that “Class Counsel

may request a percentage of what the Class receives.” (Supp. Objs. 5.) The court therefore

proceeds to analyze the reasonableness of Plaintiffs’ requested attorneys’ fees as a percentage of

the benefit conferred upon the Settlement Class in this case.

       Cannata next objects to Plaintiffs’ requested attorneys’ fees as an unreasonable

percentage of the common benefit received by the Settlement Class. Cannata argues that the

common benefit to Settlement Class members is $1,218,000. To arrive at this number, Cannata

begins with the $1,575,000 Available Amount to be paid by Defendants and subtracts $357,000

for the costs of notice and administration of the settlement.3 Cannata then calculates that the

requested attorneys’ fees in the amount of $515,000 represent 42% of this “actual” benefit to

Settlement Class members. (Cannata Objs. 7.) Finally, Cannata argues that this percentage is

“grossly above the usual benchmark many courts begin with,” although she cites no legal

authority in support of this argument. (Id.) It is Cannata’s position that “the attorney fee award

should be a reasonable percentage of no more than $1,218,000.00 of benefits actually going to

the Class,” although Cannata does not suggest any specific percentage that she believes is

reasonable. (Supp. Objs. 7.)

       Plaintiffs, on the other hand, contend that the common benefit to Settlement Class

members in this case is the total $1,575,000 Available Amount, and that the requested attorneys’


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        Pursuant to the Settlement Agreement, “The Settlement Administrator shall be
compensated from the Available Amounts up to a maximum of $357,000 for all notice and
administration costs.” (Settlement Agreement ¶ 10(a).)

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fees in the amount of $515,000 represent only 32.7% of the common benefit to Settlement Class

members. (Pls.’ Mot. 32.) It is Plaintiffs’ position that this percentage “is well within the

market rate and facially reasonable.” (Id. at 22.)

       Cannata’s argument that administrative costs should not be viewed as a “benefit” to the

Settlement Class has some intuitive appeal, insofar as no Settlement Class member will actually

receive any cash value from these payments. Cannata is also correct that, in the case before this

court, the administrative costs of the settlement have the potential to “raid, and reduce in size,

the total funds available for class compensation.” (Supp. Objs. 6.) At first blush, such costs do

not appear to be a “benefit” to the Settlement Class. Moreover, calculating attorneys’ fees on the

basis of administrative costs only exacerbates this situation. On the other hand, “it must also be

recognized that the intended benefit of this type of litigation is not to be found in individual class

member[s’] awards.” Williams, 1995 WL 765266, at *10. Here, as in all class action

settlements, the administrative costs of the settlement are necessary to achieve its overall

success. For example, while the costs of notice certainly benefit Defendants from the standpoint

of claim preclusion, they also benefit Settlement Class members by alerting individuals to their

potential right to recover. Likewise, the costs of administering the settlement fund accrue to the

Settlement Class members, as well, by creating a mechanism for recovery. These costs can

therefore be viewed as benefitting the Settlement Class as a whole.

       Neither Plaintiffs nor Cannata cite any case law directly on point in support of their

respective positions. In the recent case of In re: Aqua Dots Products Liability Litigation, cited

by Cannata, the Seventh Circuit did suggest that counsel should avoid the high transaction costs

of class action litigation in general—including the costs of notice and attorneys’ fees—when


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recovery can be had through other means. 654 F.3d 748, 752 (7th Cir. 2011).4 The Seventh

Circuit did not, however, address the question of whether it is appropriate to base attorneys’ fees

on the administrative costs of class action litigation. In other cases cited by Cannata, the

requested attorneys’ fees were unquestionably larger than the actual payments made to the

settlement class—even without the inclusion of administrative costs. See, e.g., In re: HP Printer

Litigation, No. 5:05-cv-3580 JF, 2011 WL 1158635, at *10 (N.D. Cal. Mar. 29, 2011) (rejecting

attorneys’ fees in the amount of $2.3 million when “the ultimate value of the settlement to the

class is roughly $1.5 million”); Create-A-Card, Inc. v. Intuit, Inc., No. C07-06452 WHA, 2009

WL 3073920, at *2-3 (N.D. Cal. Sept. 22, 2009) (rejecting attorneys’ fees in the amount of

$550,000 when “the total recovery will be approximately $491,357.68”). That is not the case in

this litigation, where the claims being paid out to Settlement Class members could potentially be

as much as $678,000.5 On the flipside, this case is distinguishable from Meyenburg v. Exxon

Mobil Corp., No. 3:05-cv-15-DGW, 2006 WL 2191422, at *2 (S.D. Ill. July 31, 2006)

(Wilkerson, M.J.), cited by Plaintiffs, where the plaintiffs sought attorneys’ fees worth only

4.7% of the total value of the settlement. Also distinguishable is the case of Hartless v. Clorox



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          In Aqua Dots, the proposed class action plaintiffs sought a refund for allegedly
defective products they had purchased. At the same time, however, the defendants had already
offered to the general public a recall and refund program for the same products. In affirming the
district court’s denial of class certification, the Seventh Circuit held that the proposed class
representatives did not fairly and adequately protect the interests of the class pursuant to Rule
23(a)(4), because they sought “relief that duplicates a remedy that most buyers already have
received, and that remains available to all members of the putative class.” Aqua Dots, 654 F.3d
at 752. In this case, by contrast, there is no suggestion that the Raincheck Coupons initially
offered by Defendants are still available to any potential class members.
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        Based on administrative and notice costs in the amount of $357,000, incentive fees in
the amount of $25,000, and attorneys’ fees in the amount of $515,000.

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Co., where the court recognized the appropriateness of basing attorneys’ fees on the “entire

settlement fund,” including notice and administration costs, in cases “where attorneys’ fees are

paid separately from the claim fund.” 273 F.R.D. 630, 645 (S.D. Cal. 2011). Here, by contrast,

the requested attorneys’ fees have the potential to directly impact the funds available for

payment of claims submitted by the Settlement Class.

       In the case of Taubenfeld v. Aon Corp., the Seventh Circuit recognized the

appropriateness of relying on “analogous class action settlements” to determine the

reasonableness of attorneys’ fees, noting with approval the district court’s reliance on “a table of

thirteen cases in the Northern District of Illinois where counsel was awarded fees amounting to

30-39% of the settlement fund.” 415 F.3d 597, 600 (7th Cir. 2005); see also Sutton v. Bernard,

504 F.3d 688, 692 (7th Cir. 2007) (requiring the district court to “determine a reasonable

attorneys’ fee for Counsel to be paid out of the common fund”). Unfortunately, in neither

opinion does the Seventh Circuit clearly explain the exact nature of the “settlement fund” or

“common fund” at issue, nor its component parts.6 It is nevertheless this court’s understanding

that the common-fund doctrine applies to the entire sum recovered by class counsel for purposes


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         Although the opinion in Sutton refers to both the “gross settlement amount” and the “net
settlement amount . . . a figure that excluded expenses,” the court did not distinguish between
these two figures in its use of the term “common fund.” Sutton, 504 F.3d at 690-91. Other cases
from the Seventh Circuit describe a “common fund” only as “[a] fund that has been established
for the benefit of the plaintiffs,” without further elaboration. Cook, 142 F.3d at 1011 (noting that
attorneys are expected to “petition the court for compensation” from the common fund); see also
Skelton v. Gen. Motors Corp., 860 F.2d 250, 253 (7th Cir. 1988) (same). The Supreme Court has
likewise consistently recognized “that a litigant or a lawyer who recovers a common fund for the
benefit of persons other than himself or his client is entitled to a reasonable attorney’s fee from
the fund as a whole.” Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980). In Boeing,
however, it is clear that the attorneys’ fees at issue were assessed against a fund consisting only
of money representing the defendant’s “liability to the class as a whole.” Boeing, 444 U.S. at
475.

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of settling a class action lawsuit. See Skelton, 860 F.2d at 252 (“In this type of case, the

defendant deposits a specified amount with the court for the benefit of the class in exchange for

release of its liability. The attorneys’ fee award is then taken as a share of the fund . . . .”).

Because the costs of class action litigation necessarily include the costs of notice, administration

of the settlement fund, incentive awards, and attorneys’ fees, and because the settling defendants

in these types of lawsuits have agreed to pay these costs “in exchange for release of [their]

liability,” the court finds that such costs are reasonably viewed as having been paid “for the

benefit of the class.” Id.

        In this case, as in Taubenfeld, Plaintiffs have outlined in detail the strengths of their case,

the risk of non-payment undertaken by Class Counsel, and the normal rate of compensation for

similar class action litigation. Taubenfeld, 415 F.3d at 600 (citing In re Synthroid Marketing

Litigation, 264 F.3d 712 (7th Cir.2001) (“ Synthroid I ”)) (see also Pls.’ Mot 11-14, 18-22). As a

general matter, the court is persuaded that the requested attorneys’ fees in this case represent a

reasonable approximation of the market price for the legal services offered by Class Counsel.

The court finds that Plaintiffs’ contingent agreement with Class Counsel for fees worth “one-

third of the total recovery plus reimbursement of all costs and expenses with interest,”

(Declaration of Michael J. McMorrow ¶ 14), is reasonable in light of the significant risk of non-

payment to Class Counsel and Class Counsel’s having brokered a settlement with the potential to

afford complete relief to thousands of Settlement Class members. The fact that Plaintiffs have

actually requested only 32.7% of the settlement fund, for purposes of satisfying the agreed upon

cap of $515,000 on attorneys’ fees and expenses in this case, further supports the reasonableness

of Plaintiffs’ request.


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       The court rejects Cannata’s contention that the amount of funds actually available to the

Settlement Class “fail[s] to provide any meaningful benefit” to the individual members of the

Settlement Class. (Cannata’s Objs. 7-9.) Having approved attorneys’ fees and costs in the

amount of $515,000, the Available Amount remaining for payment of Settlement Class

members’ claims is $678,000. This figure is enough to provide (1) full relief ($3.99) for

approximately 169,925 Settlement Class members who retained an Original Coupon for more

than two years and did not receive the benefit of a KGC Free Meal; (2) partial relief ($2.00) for

339,000 Settlement Class members who retained a PDF Coupon for more than two years and did

not receive the benefit of a KGC Free Meal; (3) full relief ($1.00) for 678,000 Settlement Class

members who did not retain any coupons, but nevertheless did not receive a KGC Free Meal; or

infinite combinations of the above classes of claimants. While it is true that Plaintiffs initially

alleged that more than 5.7 million coupons have yet to be redeemed, (Master Complaint ¶ 70),

the court finds it highly unlikely that more than 1 million claimants will assert a right to the

available claim funds—in large part because the customers who were most motivated to receive

a KGC Free Meal had an opportunity to do so through the Raincheck Coupon offer. This case is

distinguishable from Mirfasihi v. Fleet Mortgage Corporation, cited by Cannata, where the

settlement denied “any relief to an entire class.” 356 F.3d 781, 785 (7th Cir. 2004). Rather, the

Settlement Agreement in this case is structured to ensure that all potential class members receive

at least a pro rata share of the available settlement funds. As such, the Settlement Agreement

represents a meaningful benefit to the Settlement Class members.

       B.      Cy Pres Distribution

       Cannata also argues that the cy pres distribution set forth in the Settlement Agreement


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does not fulfill the purposes of the underlying class action and has not been put to the “next best

use.” (Cannata Objs. 9.) The court disagrees. “In the class action context the reason for

appealing to cy pres is to prevent the defendant from walking away from the litigation scot-free

because of the infeasibility of distributing the proceeds of the settlement . . . to the class

members.” Mirfasihi, 356 F.3d at 784. Feeding America, an organization consisting of a

nationwide network of member food banks, is devoted to combating hunger. The distribution of

remaining settlement funds to Feeding America fulfills the punitive purpose of Plaintiffs’

underlying class action claims , which are based on Defendants’ alleged failure to distribute free

meals as promised, by applying Defendants’ payments directly to the cause of providing free

meals to those who are hungry. The Illinois Bar Foundation and the Chicago Bar Foundation

both improve access to the courts for low-income litigants and work to advance the judicial

system as a whole. None of these entities have any affiliation with Plaintiffs or Defendants, and

each is an appropriate recipient of the cy pres distribution proposed by the parties.

        C.      Incentive Awards

        Finally, the Settlement Agreement proposes, and Plaintiffs have requested, an incentive

award in the aggregate amount of $25,000. The court has received no objections to this award

and finds it to be reasonable in light of Plaintiffs’ efforts in this litigation and the average

incentive awards in other consumer class action litigation. See Theodore Eisenberg & Geoffrey

P. Miller, Incentive Awards to Class Action Plaintiffs: An Empirical Study, 53 UCLA L. Rev.

1303, 1333 (2006) (finding an average aggregate award of $29,055.20 and average individual

award of $6,358.80).

                                           CONCLUSION


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       For the reasons set forth above, objector Jill K. Cannata’s objections to the Settlement

Agreement (Dkt. No. 104) are overruled and “Plaintiffs “Motion & Memorandum in Support of

Final Approval of Class Action Settlement, and Approval of Attorneys’ Fees and Incentive

Award” (Dkt. No. 108) is granted. The court approves the Settlement Agreement in total,

finding it to be fair, reasonable, and adequate pursuant to Federal Rule of Civil Procedure 23(e).

The court approves Plaintiffs’ request for attorneys’ fees and expenses in amount of $515,000

and an incentive award in the aggregate amount of $25,000.

                                      ENTER:



                                      _________________________________
                                      JAMES F. HOLDERMAN
                                      Chief Judge, United States District Court

Date: November 30, 2011




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